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                                                                   Exhibit 1
                                        P. Mot. for Summ. J./D. Resp. to Rogs Set 1

                                          Court: S.D. Ill. Case No. 3:21cv540-NJR
                                                                  Pacific Legal Foundation
                                                              555 Capitol Mall, Suite 1290
                                                      Sacramento CA 95814 – 916.419.7111
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


 SCOTT WYNN, an individual,

                   Plaintiff,

 v.                                                   No. 3:21–cv–00514–MMH–JRK

 THOMAS J. VILSACK, in his official
 capacity as Secretary of Agriculture,
 et al.,

                   Defendants.


 DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF
          INTERROGATORIES (as supplemented October 8, 2021)


       Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendants Thomas J. Vilsack,

et al., by and through their undersigned counsel, hereby respond to Plaintiff’s First Set of

Interrogatories:

       Defendants’ objections and responses are based on information known to Defendants at

this time, and are made without prejudice to additional objections should Defendants

subsequently identify additional grounds for objection. The information submitted herewith is

being provided in accordance with the Federal Rules of Civil Procedure, which generally permit

the discovery of matters not privileged that are relevant to the claims or defenses in this civil

action, and that is proportional to the reasonable needs of the case. Fed. R. Civ. P. 26(b)(1).

Accordingly, Defendants do not, by providing such information, waive any objection to its

admissibility on the grounds of relevance, proportionality, accessibility, materiality, or any other

appropriate ground. Defendants reserve the right to amend these responses until the close of

discovery in this case.


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        DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S INSTRUCTIONS AND
                            DEFINITIONS

       1.      Defendants object to Instruction 1 insofar as it seeks information from

Defendants’ “attorneys” that may be protected by the attorney-client privilege, the attorney work

product doctrine, the deliberative process privilege, or any other applicable legal protection from

disclosure.

       2.      Defendants object to Definition 2 to the extent “identify” includes providing a

government employee’s “present or last known address.” Any employees identified in response

to Plaintiff’s interrogatories may be contacted through Defense counsel. When identifying a

person in response to any interrogatory, Defendants will state the person’s name and title.

       3.      Defendants object to Definition 4 because requiring Defendants to “identify all

oral communications which were made at the act or event identified” and “all documents

concerning the act or event identified” is unduly burdensome. Defendants will identify oral

communications and documents to the extent necessary to comply with their obligations under

the Federal Rules to provide information responsive and relevant to Plaintiff’s interrogatories.

                                           RESPONSES

Interrogatory No. 1: Identify all persons who contributed to or consulted in the preparation of
answers to these Interrogatories and indicate each Interrogatory for which they contributed or
were consulted.

Response:      Defendants object to this interrogatory because the terms “contributed to or

consulted” are ambiguous. Defendants will construe this interrogatory as asking for the

identification only of persons who provided substantive information used in these responses, and

not persons such as counsel who provided advice concerning these responses. Defendants

further object to the extent this interrogatory calls for information protected by the attorney-

client privilege, deliberative process privilege, and/or other governmental privileges.



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       Without waiver of the foregoing objection, Defendants respond as follows: Dana Richey,

Assistant to the Deputy Administrator, Farm Loan Programs, was consulted in responding to

Interrogatory Nos. 8, 9, 13, and 17. Sheila Oellrich, Assistant to the Director, Loan Servicing

and Property Management Division, was also consulted in responding to Interrogatory No. 13.

William Cobb, Deputy Administrator, Farm Loan Programs was consulted in responding to

Interrogatory Nos. 4, 8, and 9.

       Toni Williams, Agricultural Program Manager, Farm Storage Facility Loan Program,

Sugar Storage Facility Loan Program, and Sugar Loan Program; Laura Schlote, Branch Chief,

Contracts and Applications, Program Delivery Division; and Cloretta Lewis, Financial

Specialist, Price Support Division were also consulted in responding to Interrogatory No. 17.

       Zach Ducheneaux, Administrator, Farm Service Agency, was consulted in responding to

all interrogatories contained herein.

       All of the above individuals were consulted in responding to Interrogatory 2.



Interrogatory No. 2: Identify all documents referred to or examined in the preparation of the
answers to these Interrogatories and indicate each Interrogatory for which each document was
referred to or examined.

Response:      Defendants object to this interrogatory as overly burdensome insofar as it calls for

identification of documents “referred to or examined” in preparation of these interrogatory

responses that did not contain information responsive to the interrogatories and were not relied

upon in their preparation.

       Without waiver of the foregoing objection, Defendants respond as follows: For

Interrogatory No. 13, Defendants pulled loan information from the USDA IT system Program

Loan Accounting System (PLAS) and then cross-referenced that information with spreadsheets




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of class-members in the Pigford cases and the Keepseagle case to determine relevant class

members.

       For Interrogatory No. 17, Defendants obtained loan information from the Program Loan

Accounting System (PLAS) and Guaranteed Loan System (GLS). Defendants also relied on

spreadsheets derived from data obtained from the Financial Management Division, from the

Enterprise Data Warehouse, and from Business Partner.

       For Interrogatories No. 8 and 15, Defendants relied upon the Notice of Funds

Availability; American Rescue Plan Act of 2021 Section 1005 Loan Payment (ARPA), 86 Fed.

Reg. 28,329 (May 26, 2021).



Interrogatory No. 3: Identify every person you intend to have offer testimony in this case and
describe the substance of the anticipated testimony.

Response:      Defendants object to this interrogatory as prematurely seeking information the

disclosure of which is governed by Local Rule 3.06 and, by doing so, seeks litigation strategy

protected by the attorney work product doctrine. Defendants will identify every person they

intend to have offer testimony in this case in their pretrial disclosures, if such disclosures are

necessary, as provided by Federal Rule of Civil Procedure 26(a)(3) and Local Rule 3.06.



Interrogatory No. 4: Identify every government interest that you contend is advanced by the
“socially disadvantaged” provisions of Section 1005.

Response:      Defendants object to this interrogatory as prematurely seeking information the

disclosure of which is governed by the Case Management and Scheduling Order, ECF No. 43,

and, by doing so, seeks litigation strategy protected by the attorney work product doctrine.

Defendants will address the issues raised in this interrogatory, as appropriate, in their summary

judgment briefing.


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       Without waiver of the foregoing objections, Defendants respond as follows: Section 1005

furthers the government’s interests in remedying the lingering effects of the well-documented

history of discrimination against minority farmers in USDA farm loan programs and in

preventing public funds from being allocated in a way that perpetuates the effects of

discrimination.



Interrogatory No. 5: For each government interest identified in your response to Interrogatory
No. 4, explain how the “socially disadvantaged” provisions of Section 1005 is tailored to further
that interest.

Response:      Defendants object to this interrogatory as a blockbuster “contention interrogatory”

to which no response is required. See, e.g., Felix v. City & Cty. of Denver, No. 08-02228, 2009

WL 3838587, at *1 (D. Colo. Nov. 13, 2009); Grynberg v. Total, S.A., No. 03-01280, 2006 WL

1186836, at *6 (D. Colo. May 3, 1996); Everett v. USAir Gp., 165 F.R.D. 1, 3 (D.D.C. 1995)

(“Insofar as these interrogatories call for defendants to separately articulate the underlying facts

upon which they base their defenses, however, they are contention interrogatories and defendants

need not respond at this time.”). Defendants will address the issues raised in this interrogatory,

as appropriate, in their summary judgment briefing.

       Without waiver of the foregoing objections, Defendants respond as follows: Defendants

refer Plaintiff to Defendants’ Response in Opposition to Plaintiff’s Motion for Preliminary

Injunction, ECF No. 22, at 17-39 & accompanying exhibits. Pursuant to Federal Rule of Civil

Procedure 33(d), Defendants further identify the sources cited therein. Defendants also refer

Plaintiff to the Congressional record to the extent Plaintiff seeks information related to

Congress’s intent in passing Section 1005.

Supplemental Response:         Defendants have produced the documents cited above at the

following Bates numbers: ARPA_WYNN_00001019—ARPA_WYNN_00001134,


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ARPA_WYNN_00001150—ARPA_WYNN_00002304, ARPA_WYNN_00002310—

ARPA_WYNN_00002489, ARPA_WYNN_00002571—ARPA_WYNN_00002685,

ARPA_WYNN_00003153—ARPA_WYNN_00003215, ARPA_WYNN_00003400—

ARPA_WYNN_00003406, ARPA_WYNN_00003420—ARPA_WYNN_00003452,

ARPA_WYNN_00003464—ARPA_WYNN_00003666, ARPA_WYNN_00003675—

ARPA_WYNN_00004348.



Interrogatory No. 6: Identify all factual evidence and supporting documentation (including, but
not limited to, legislative evidence, scientific studies, investigations, interviews, or testimony)
that support the assertion that the interests identified in your response to Interrogatory No. 4 are
advanced by Section 1005.

Response:      Defendants object to this interrogatory as a blockbuster “contention interrogatory”

to which no response is required. See, e.g., Felix v. City & Cty. of Denver, No. 08-02228, 2009

WL 3838587, at *1 (D. Colo. Nov. 13, 2009); Grynberg v. Total, S.A., No. 03-01280, 2006 WL

1186836, at *6 (D. Colo. May 3, 1996); Everett v. USAir Gp., 165 F.R.D. 1, 3 (D.D.C. 1995)

(“Insofar as these interrogatories call for defendants to separately articulate the underlying facts

upon which they base their defenses, however, they are contention interrogatories and defendants

need not respond at this time.”). Defendants will address the issues raised in this interrogatory,

as appropriate, in their summary judgment briefing.

       Without waiver of the foregoing objections, Defendants respond as follows: Defendants

refer Plaintiff to Defendants’ Response in Opposition to Plaintiff’s Motion for Preliminary

Injunction, ECF No. 22, at 17-39 & accompanying exhibits. Pursuant to Federal Rule of Civil

Procedure 33(d), Defendants further identify the sources cited therein.

Supplemental Response:         Defendants have produced the documents cited above at the

following Bates numbers: ARPA_WYNN_00001019—ARPA_WYNN_00001134,



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ARPA_WYNN_00001150—ARPA_WYNN_00002304, ARPA_WYNN_00002310—

ARPA_WYNN_00002489, ARPA_WYNN_00002571—ARPA_WYNN_00002685,

ARPA_WYNN_00003153—ARPA_WYNN_00003215, ARPA_WYNN_00003400—

ARPA_WYNN_00003406, ARPA_WYNN_00003420—ARPA_WYNN_00003452,

ARPA_WYNN_00003464—ARPA_WYNN_00003666, ARPA_WYNN_00003675—

ARPA_WYNN_00004348.



Interrogatory No. 7: Identify all race-neutral means you have considered or used to further the
government interests you identified in your response to Interrogatory No. 4.

Response:      Defendants object to this interrogatory as a blockbuster “contention interrogatory”

to which no response is required. See, e.g., Felix v. City & Cty. of Denver, No. 08-02228, 2009

WL 3838587, at *1 (D. Colo. Nov. 13, 2009); Grynberg v. Total, S.A., No. 03-01280, 2006 WL

1186836, at *6 (D. Colo. May 3, 1996); Everett v. USAir Gp., 165 F.R.D. 1, 3 (D.D.C. 1995).

Defendants will address the issues raised in this interrogatory, as appropriate, in their summary

judgment briefing.

Supplemental Objections and Response:        Defendants also object to the terms “used” and

“considered” as vague and ambiguous. Defendants will construe the term “used” to mean

“actually implemented” by Congress or USDA and will construe the term “considered” to mean

“reviewed and analyzed by Congress or USDA.”

       Defendants further object to this request as overly burdensome and disproportionate to

the needs of the case to the extent it seeks information about race-neutral means “considered” but

not actually implemented at any point in time prior to Defendants’ consideration of the remedial

measure adopted in Section 1005. Defendants will construe this request as seeking information




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about race-neutral means considered by Congress or USDA since January 3, 2021, as an

alternative to Section 1005.

       Moreover, Defendants object to this request as overly burdensome and disproportionate

to the needs of the case because it seeks identification of all race-neutral means ever “used” by

Defendants without time limitation. Defendants will construe this interrogatory as seeking

information about race-neutral means used by Congress or USDA since 1990 to further the

government’s identified compelling interests.

       Defendants additionally object to this request to the extent it is seeking information

protected by the deliberative process privilege—including by application of the consultant

corollary, see Am. Oversight v. United States Dep’t of the Treasury, 474 F. Supp. 3d 251, 262

(D.D.C. 2020)—the legislative privilege, see United States v. Brewster, 408 U.S. 501, 525

(1972), or any other applicable legal protection or privilege.

       Without waiver of the foregoing objections, Defendants respond as follows: Defendants

refer Plaintiff to the Defendants’ Response in Opposition to Plaintiff’s Motion for Preliminary

Injunction, ECF No. 22, at 2-13, 18-19, 31-38 & accompanying exhibits. Pursuant to Federal

Rule of Civil Procedure 33(d), Defendants further identify the sources cited therein. Defendants

have produced the documents cited above at the following Bates numbers:

ARPA_WYNN_00003165—ARPA_WYNN_00003215, ARPA_WYNN_00003433—

ARPA_WYNN_00003435, ARPA_WYNN_00003675—ARPA_WYNN_00004348.

       For ease of reference, Defendants also provide herein other means used or considered to

further the government’s compelling interests, which were discussed in the relevant portions of

the briefing or are identified by Defendants pursuant to this supplemental response:

   -   Congress created a program to provide outreach and technical assistance to socially
       disadvantaged farmers in 1990 (the “2501 Program”). Consolidated Farm and Rural



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       Development Act of 1961 (“CONACT”), as amended (7 U.S.C. § 1922, et seq.). In 2014,
       Congress expanded the 2501 program to include veterans, Agricultural Act of 2014, Sec.
       12201 (7 U.S.C. § 2279), and permanently funded the 2501 Program in 2018, Agriculture
       Improvement Act of 2018, Sec. 12301 (7 U.S.C. § 2279).

   -   In 1994, Congress reorganized USDA to separate the farm loan programs mission area
       from the rural development and conservation mission areas, Federal Crop Insurance
       Reform and Department of Agriculture Reorganization Act of 1994 (7 U.S.C. § 6901, et
       seq.), and other internal agency reorganizations have altered the role of county
       committees in loan making decisions, see Defendants’ Response in Opposition to
       Plaintiff’s Motion for Preliminary Injunction, ECF No. 22, at 2-3; Congressional
       Research Service (CRS), FSA Comms.: In Brief (Jan. 29, 2021) (FSA Comms.),
       available at https://perma.cc/HA3L-PDPG.

   -   USDA established administrative claims processes pursuant to settlement agreements
       entered in lawsuits brought by certain groups of minority farmers, see, e.g. Pigford v.
       Glickman, 1:97-cv-1978-PLF, ECF No. 167; and, in 2010, Congress allocated additional
       funds for settlements reached through those lawsuits, Claims Resolution Act of 2010, Pub
       L. 111-291, 124 STAT. 3064.

   -   In 1998, Congress enacted legislation to waive the Equal Credit Opportunity Act statute
       of limitation for all individuals who previously filed discrimination complaints with
       USDA. Section 741 of the Agriculture, Rural Development, Food and Drug
       Administration, and Related Agencies Appropriations Act, 1999, enacted in Division A,
       section 101(a) of the Omnibus Consolidated and Emergency Supplemental
       Appropriations Act, 1999, Pub. L. 105–277 (codified in 7 U.S.C. § 2279 notes); see also
       7 C.F.R §15f.

   -   In 2002, Congress created an office at the Assistant Secretary level within USDA
       dedicated to enforcing civil rights. See https://www.usda.gov/oascr.

   -   In 2008, Congress mandated the creation of an Advisory Committee on Minority Farmers
       and required the Department to report civil rights complaints, resolutions, and personnel
       actions. Food, Conservation, and Energy Act of 2008, §§ 14008, 14010.

   -   In 2010, Congress enacted a provision in the Dodd-Frank Wall Street Reform and
       Consumer Protection Act that extended the statute of limitations for claims brought under
       the Equal Credit Opportunity Act, including claims against USDA/FSA, from 2 years to
       5 years. 15 U.S.C. § 1691e(f) (2010), amended by Dodd-Frank Wall Street Reform and
       Consumer Protection Act, Pub. L. No. 111-203, 124 Stat. 1376 (2010).

   -   In 2014, Congress established the Socially Disadvantaged Farmer and Rancher Policy
       Research Center, required the compilation and public disclosure of data to assess
       participation of socially disadvantaged farmers and ranchers in programs of the
       Department, and authorized a permanent microloan program. Agricultural Act of 2014,
       §12202 (7 U.S.C. § 2279(c)(5); 7 U.S.C. § 2279-1; 7 U.S.C. § 1943(c))



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   -   In 2018, Congress mandated the creation of a Tribal Advisory Committee and provided
       provisions ensuring eligibility for operators on heirs property land to obtain a farm
       number. Agriculture Improvement Act of 2018, §§ 12303, 12615 (7 U.S.C. § 6622b et
       seq.; 7 U.S.C. § 6921 et seq.)

   -   Congress has also held numerous oversight hearings focused on civil rights issues at
       USDA, including in FSA and its loan programs. See, e.g., Hr’g on USDA’s Civil Rights
       Progs. and Responsibilities before The House Subcomm. on Dep’t Ops., Oversight,
       Nutrition, and Forestry, Comm. on Ag., 106th Cong. 37 (1999) (Goodlatte) (recognizing
       that “[c]ivil rights at the [USDA] has long been a problem”); 2002 Civil Rights Hr’g 16,
       18, 26 (hearing testimony about the disparities in loan processing times and approval
       rates for Hispanic farmers; underrepresentation of minorities in USDA; and continuing
       delays in the resolution of civil rights complaints); Hr’g to Review the USDA’s Farm
       Loan Progs. before the Senate Comm. on Ag., Nutrition, and Forestry, 109th Cong. 800
       (2006) (Karen Krub, Farmers’ Legal Action Group, Inc.) (“[T]here is still no meaningful
       process for investigation and resolution of allegations of discrimination [against] FSA
       decision-makers.”); Hr’g to Review Availability of Credit in Rural America before the
       House Subcomm. on Conserv., Credit, Energy, and Research, Comm. on Ag., 110th
       Cong. 8 (2007); Hr’g on Mgmt. of Civil Rights at the USDA before the House Subcomm.
       on Gov’t Mgmt., Org., and Procurement, Comm. on Oversight and Gov’t Reform, 110th
       Cong. 137 (2008) (hearing testimony about, and recognizing, the continued problem of
       USDA discrimination against minority farmers, including the inability of Native
       American and Hispanic farmers to receive loans; underrepresentation of minorities on
       county committees; and delayed processing of civil rights complaints, including
       allegations that complaints were shredded and not processed, all despite creation in 2002
       of the Assistant Secretary of Civil Rights); House Ag. Comm. Hr’g on U.S. Ag. Policy
       and the 2012 Farm Bill (Apr. 21, 2010); House Ag. Comm. Hr’g on USDA Oversight 45,
       50 (July 22, 2015).In 2018 and 2019, the Farm Service Agency was authorized to
       distribute up to $25.1 billion through the Market Facilitation Program (MFP) to assist
       producers directly affected by retaliatory tariffs by China. See https://perma.cc/67CF-
       L387.
   -   FSA and its predecessor entity have had various structures and processes in place to
       provide oversight of farm loan programs, including audit systems for reviewing county
       offices’ general compliance with rules and regulations for making direct loans and for
       providing loan servicing and civil rights compliance processes to monitory county
       offices’ policies and practices.

   -   USDA has commissioned entities to conduct investigations and draft reports to attempt to
       address discrimination in USDA’s farm loan programs, including but not limited to the
       Civil Rights Action Team in 1996-1997 and Jackson Lewis LLP, and has conducted
       internal reviews of its programs through audits and Inspector General investigations.
       Congress has also requested reports concerning access to credit, discrimination and civil



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         rights compliance, and other issues related to USDA’s farm loan programs from entities
         such as the Government Accountability Office.


 Interrogatory No. 8: Please describe the process for determining whether a group is “socially
 disadvantaged” for purposes of Section 1005, including how Defendants determined that each
 group identified in the Notice of Funds Availability; American Rescue Plan Act of 2021 Section
 1005 Loan Payment (ARPA), 86 Fed. Reg. 28,329 (May 26, 2021) (namely, “American Indians
 or Alaskan Natives; Asians; Blacks or African Americans; Native Hawaiians or other Pacific
 Islanders; and Hispanics or Latinos”) is “socially disadvantaged.”

 Response:       Defendants object to this interrogatory as compound insofar as it seeks

 information concerning both the (pre-NOFA) process of pre-designation of socially

 disadvantaged groups and the current (post-NOFA) process for determining whether a group

 qualifies as socially disadvantaged for purposes of Section 1005, which are distinct topics not

 fairly encompassed by one interrogatory. Defendants will count this interrogatory as two against

 Plaintiff’s limit.

         A)      Defendants object to the portions of this interrogatory concerning the pre-NOFA

 designation process to the extent it is seeking information protected by the deliberative process

 privilege—including by application of the consultant corollary, see Am. Oversight v. United

 States Dep’t of the Treasury, 474 F. Supp. 3d 251, 262 (D.D.C. 2020)—or any other applicable

 legal protection or privilege.

         Supplemental Objections and Response:        To the extent this interrogatory seeks

 information regarding Congress’s non-public gathering of information or advice for the purpose

 of enacting legislation, such information would be protected from disclosure under the legislative

 privilege. See United States v. Brewster, 408 U.S. 501, 525 (1972).

         Without waiver of the foregoing objections, Defendants respond as follows: For

 purposes of Section 1005, a socially disadvantaged group is “a group whose members have been

 subjected to racial or ethnic prejudice because of their identity as members of a group without



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 regard to their individual qualities.” 7 U.S.C. § 2279(a)(6); see ARPA § 1005(b)(3). In

 determining which groups to include in the definition of “socially disadvantaged” provided by

 the NOFA, Defendants relied on the definition provided by 7 U.S.C. § 2279(a) and the race and

 ethnic categories USDA uses in administering the 2501 Program. See Pub. L. 115-334, Title

 XII, §§ 12301(b), 12306(a), Dec. 20, 2018, 132 Stat. 4951, 4968.



        B)       As to the current (post-NOFA) process, the Secretary of Agriculture “will

 determine on a case-by-case basis whether additional groups qualify under this definition in

 response to a written request with supporting explanation.” See the Notice of Funds Availability;

 American Rescue Plan Act of 2021 Section 1005 Loan Payment (ARPA), 86 Fed. Reg. 28,329,

 28,330 (May 26, 2021).



 Interrogatory No. 9: Please identify all other groups that Defendants have considered for
 inclusion as “socially disadvantaged” for purposes of Section 1005 and explain whether the
 group was determined to be “socially disadvantaged” and why or why not.

 Response:       Defendants object to the portions of this interrogatory concerning the pre-

 designation process as seeking information protected by the deliberative process privilege—

 including by application of the consultant corollary, see Am. Oversight v. United States Dep’t of

 the Treasury, 474 F. Supp. 3d 251, 262 (D.D.C. 2020)—or any other applicable legal protection

 or privilege.

        Without waiver of the foregoing objections, Defendants respond as follows: Defendants

 have not yet considered groups not enumerated in the NOFA.




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 Interrogatory No. 10: Please identify and provide a complete list of the reasons that women were
 not included as a “socially disadvantaged” group for purposes of Section 1005 and 7 U.S.C.
 2279.

 Response:      Defendants object to this interrogatory to the extent it seeks information protected

 by the deliberative process privilege—including by application of the consultant corollary, see

 Am. Oversight v. United States Dep’t of the Treasury, 474 F. Supp. 3d 251, 262 (D.D.C. 2020)—

 or any other applicable legal protection or privilege. Defendants further object to the extent that

 the interrogatory seeks information not within Defendants’ knowledge or control.

        Without waiver of the foregoing objections, Defendants respond as follows: Women

 farmers and ranchers are eligible for Section 1005 relief so long as they are members of a

 socially disadvantaged group. For purposes of Section 1005, a socially disadvantaged group is

 “a group whose members have been subjected to racial or ethnic prejudice because of their

 identity as members of a group without regard to their individual qualities.” 7 U.S.C.

 § 2279(a)(6); see ARPA § 1005(b)(3). Defendants refer Plaintiff to Pub. L. 115-334, Title XII,

 §§ 12301(b), 12306(a), Dec. 20, 2018, 132 Stat. 4951, 4968, and its associated legislative history

 for evidence of Congress’s reasons for using that statutory language.



 Interrogatory No. 11: If you contend that race (including both race and ethnicity) is not the sole
 criterion for determining whether a farmer or rancher is “socially disadvantaged” within the
 meaning of Section 1005, please state the complete basis for your contention.

 Response:      Under Section 1005, the sole criterion for whether a farmer or rancher is socially

 disadvantaged is whether the farmer or rancher is “a member of a socially disadvantaged group,”

 which is defined as “a group whose members have been subjected to racial or ethnic prejudice

 because of their identity as members of a group without regard to their individual qualities.” 7

 U.S.C. § 2279(a)(5), (6); see also ARPA § 1005(b)(3).




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 Interrogatory No. 12: Please identify all instances in the past 25 years in which USDA or FSA
 engaged in or facilitated discrimination on the basis of race (including both race and ethnicity).

 Response:      Defendants object to this interrogatory on the ground that the phrase “engaged in

 or facilitated discrimination” as ambiguous. Defendants also object to this interrogatory as

 overly broad and disproportionately burdensome to the extent it seeks identification of all

 instances of race discrimination occurring in any and all USDA programs regardless of their

 relationship to FSA farm loan programs. Defendants further object to this interrogatory as overly

 broad and disproportionately burdensome because it is not premised on the relevant legal

 standard—that the Government have “a strong basis in evidence for its conclusion that [the

 challenged] action was necessary” to further its compelling interests. Ensley Branch, NAACP v.

 Seibels, 31 F.3d 1548, 1565 (11th Cir. 1994).

        Without waiver of the foregoing objections, Defendants respond as follows: Defendants

 refer Plaintiff to Defendants’ Response in Opposition to Plaintiff’s Motion for Preliminary

 Injunction, ECF No. 22, at 3-13 & accompanying exhibits. Pursuant to Federal Rule of Civil

 Procedure 33(d), Defendants further identify the sources cited therein.

 Supplemental Response:        Defendants have produced the documents cited above at the

 following Bates numbers: ARPA_WYNN_00000001—ARPA_WYNN_00001114,

 ARPA_WYNN_00001135—ARPA_WYNN_00002309, ARPA_WYNN_00002490—

 ARPA_WYNN_00003432, ARPA_WYNN_00003453—ARPA_WYNN_00004399.



 Interrogatory No. 13: Please identify the number of farmers who both (1) are eligible for debt
 relief under Section 1005; and (2) received payments pursuant to Pigford, Pigford II, and
 Keepseagle (cited in ¶¶ 35–37 of Plaintiff’s Complaint), together with total dollar amount of
 payments received by those farmers.

 Response:      Defendants object to this interrogatory on the ground that “payments” is

 ambiguous. Defendants will interpret the term to mean the debt relief and any other payments


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 specified in the settlement agreements for each action that were awarded to prevailing claimants.

 See Pigford v. Glickman, 1:97-cv-1978-PLF, ECF No. 167; In re Black Farmers Discrimination

 Litigation, 1:08-mc-511-PFL, ECF No. 170-2; Keepseagle v. Vilsack, No. 99-CV-03119, ECF

 No. 621-2.

        Without waiver of the foregoing objection, Defendants respond as follows: Of borrowers

 who are eligible for debt relief under Section 1005, three-hundred seventy of them have received

 payments under Pigford, Pigford II, or Keepseagle, which payments total $30,712,100.27.



 Interrogatory No. 14: Please provide a listing (including, as appropriate, a spreadsheet or
 database) of all farmers who had outstanding loan balances on qualifying farm loans as of
 January 1, 2021, including the following information: name [or alternative unique identifier],
 location, original loan amount, loan date, outstanding loan amount as of January 1, age, race, and
 ethnicity.

 Response:      Defendants object to this interrogatory to the extent that it seeks information the

 disclosure of which would violate 5 U.S.C § 552a and 7 U.S.C. § 8791. Defendants are

 available to meet and confer regarding appropriate measures, such as a protective order, to

 prevent unlawful disclosure of information.



 Interrogatory No. 15: Please state the complete basis for your contention that “Plaintiff has
 failed to exhaust administrative remedies.” ECF No. 48 at 13.

 Response:      Defendants object to this interrogatory as a blockbuster “contention interrogatory”

 to which no response is required. See, e.g., Felix v. City & Cty. of Denver, No. 08-02228, 2009

 WL 3838587, at *1 (D. Colo. Nov. 13, 2009); Grynberg v. Total, S.A., No. 03-01280, 2006 WL

 1186836, at *6 (D. Colo. May 3, 1996); Everett v. USAir Gp., 165 F.R.D. 1, 3 (D.D.C. 1995)

 (“Insofar as these interrogatories call for defendants to separately articulate the underlying facts




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 upon which they base their defenses, however, they are contention interrogatories and defendants

 need not respond at this time.”).

        Without waiver of the foregoing objections, Defendants respond as follows: Pursuant to

 the NOFA, “[t]he Secretary of Agriculture will determine on a case-by-case basis whether

 additional groups qualify under th[e] definition [of a socially disadvantaged group] in response

 to a written request for supporting explanation.” Id. at 28,330. Judicial review is not available

 under the Administrative Procedure Act unless “an aggrieved party has exhausted all

 administrative remedies expressly prescribed by statute or agency rule.” Darby v. Cisneros, 509

 U.S. 137, 146 (1993). Upon information and belief, Plaintiff has not submitted a written request

 to the Secretary.



 Interrogatory No. 16: Please state the complete basis for your contention that “Plaintiff is not
 entitled to attorney’s fees or costs.” ECF No. 48 at 13.

 Response:      Defendants object to this interrogatory as a blockbuster “contention interrogatory”

 to which no response is required. See, e.g., Felix v. City & Cty. of Denver, No. 08-02228, 2009

 WL 3838587, at *1 (D. Colo. Nov. 13, 2009); Grynberg v. Total, S.A., No. 03-01280, 2006 WL

 1186836, at *6 (D. Colo. May 3, 1996); Everett v. USAir Gp., 165 F.R.D. 1, 3 (D.D.C. 1995).

 Defendants will address the issues raised in this interrogatory, if and when necessary, in the

 context of any briefing on fees.




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 Interrogatory No. 17: Please provide the total dollar amount of outstanding farm loans as of
 January 1, 2021 for farmers that do not qualify as “socially disadvantaged” for purposes of
 Section 1005.

 Response:      Defendants object to this interrogatory on the ground that “outstanding farm loan”

 is ambiguous. Defendants will interpret the term to mean a loan falling within the definition of

 “farm loan” under Section 1005(b).

        Without waiver of the foregoing objection, Defendants respond as follows: Based on

 currently available data, as of January 1, 2021, the total dollar amount of outstanding farm loan

 balances for borrowers who, as of July 14, 2021, were identified as White/Non-Hispanic is

 approximately $30,226,629,606.42. This dollar amount includes outstanding balances as of

 January 1, 2021 for loans eligible for debt relief under ARPA Section 1005 that are held by those

 who identify as White/Non-Hispanic. It includes $29,297,474,937 in outstanding Direct and

 Guaranteed loans administered or guaranteed by the Farm Service Agency and $929,154,669.42

 in outstanding Farm Storage Facilities Loans administered by the Commodity Credit

 Corporation.



 Interrogatory No. 18: If you contend that COVID-19 relief for farmers was not administered in a
 racially neutral fashion, please state the basis for your contention.

 Response:      Defendants object to this interrogatory as a blockbuster “contention interrogatory”

 to which no response is required. See, e.g., Felix v. City & Cty. of Denver, No. 08-02228, 2009

 WL 3838587, at *1 (D. Colo. Nov. 13, 2009); Grynberg v. Total, S.A., No. 03-01280, 2006 WL

 1186836, at *6 (D. Colo. May 3, 1996); Everett v. USAir Gp., 165 F.R.D. 1, 3 (D.D.C. 1995)

 (“Insofar as these interrogatories call for defendants to separately articulate the underlying facts

 upon which they base their defenses, however, they are contention interrogatories and defendants

 need not respond at this time.”).



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        Without waiver of the foregoing objections, Defendants respond as follows: Defendants

 refer Plaintiffs to Defendants’ Response in Opposition to Plaintiff’s Motion for Preliminary

 Injunction, ECF No. 22, at 9-11 & accompanying exhibits. Pursuant to Federal Rule of Civil

 Procedure 33(d), Defendants further identify the sources cited therein.

 Supplemental Response:        Defendants have produced the documents cited above at the

 following Bates numbers: ARPA_WYNN_00000001—ARPA_WYNN_00001018,

 ARPA_WYNN_00001150—ARPA_WYNN_00002304, ARPA_WYNN_00002490—

 ARPA_WYNN_00002570, ARPA_WYNN_00002856—ARPA_WYNN_00002931,

 ARPA_WYNN_00003153—ARPA_WYNN_00003215, ARPA_WYNN_00003400—

 ARPA_WYNN_00003406, ARPA_WYNN_00003415—ARPA_WYNN_00003419,

 ARPA_WYNN_00003667—ARPA_WYNN_00003670, ARPA_WYNN_00004349—

 ARPA_WYNN_00004399.

        For ease of reference, Defendants also provide herein the information discussed in the

 relevant portions of the briefing: Reporting before Congress in the lead-up to Section 1005’s

 enactment showed that the overwhelming majority of funds distributed through the Coronavirus

 Food Assistance Program in 2020 went to non-minority farmers. J. Hayes, USDA Data: Nearly

 All Pandemic Bailout Funds Went to White Farmers, Envir’l Working Group (EWG) (Feb. 18,

 2021), https://perma.cc/PVZ7-QMFD. In hearings leading to Section 1005’s enactment, Senator

 Stabenow explained that “[t]he diminished relationships between [SDFRs] and USDA as a result

 of both latent barriers and historic discrimination limit[ed]” SDFRs’ access to, and participation

 in, USDA programs, such that “73 percent of Black farmers … were not even aware of the

 agricultural aid provisions of the[se] coronavirus rescue programs.” 167 Cong. Rec. S1264

 (March 5, 2021) (Senator Stabenow) (citing Fed’n of S. Coops/Land Assist. Fund, Ann. Rep. 4




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 (2020), https://perma.cc/94PY-HSM6). And a letter introduced into the record from 13 full-time

 professors who specialize in agricultural issues explained that federal farm programs “have

 perpetuated and exacerbated the problem” of discrimination, by preferring certain crops (those

 produced by white farmers) and “reward[ing] the largest farms the most” (those owned by white

 farmers), thereby “distort[ing] credit, land, input costs, and markets” to the disadvantage of

 minority farmers. Id. S1266 (summarizing Hr’g on the Decline of Minority Farming in the

 United States, Comm. on Gov’t Ops., U.S. House of Reps. (1990); D.J. Miller Disparity Study:

 Producer Participation and EEO Compl. Process Study), D.J. Miller & Associates report

 prepared for the USDA FSA (1996); USDA: Problems in Processing Discrim. Compls., GAO

 (2002); USDA: Recomms. and Options to Address Mgmt. Deficiencies in the Off. of the

 Assistant Secretary for Civil Rights, GAO (2008), https://perma.cc/YW73-83WE. See S1266-

 67).



 As to the interrogatories, see Attachment for verification.

 As to the objections, see below for signatories:

  Dated: October 8, 2021               Respectfully submitted,

                                       BRIAN M. BOYNTON
                                       Acting Assistant Attorney General

                                       LESLEY FARBY
                                       Assistant Branch Director
                                       Civil Division, Federal Programs Branch

                                       /s/ Kyla Snow
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                     ATTACHMENT
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Defendants’ Objections and Responses to Plaintiff’s

 First Set of Interrogatories (as supplemented October 8, 2021) was served on counsel for

 Plaintiff via email on October 8, 2021.

                                                                              /s/ Kyla M. Snow
                                                                              KYLA M. SNOW
